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   From:              For OS announcements to all of HHS on behalf of HHS News Do Not Reply (OS/ASPA)
   To:                HHS-NEWS-ALL@LIST.NIH.GOV
   Subject:           Notice - Court Order Issuing Preliminary Injunction in Colorado v. HHS
   Date:              Tuesday, May 20, 2025 3:55:21 PM
   Attachments:       Notice - Court Order Issuing Preliminary Injunction in Colorado v. HHS_R.pdf



   On May 16, 2025, the District Court for the District of Rhode Island, issued a Preliminary
   Injunction (PI). Pursuant to that PI, HHS and all its agencies, respective officers, agents,
   servants, employees and attorneys, contractors, grantees, and any persons in active concert
   or participation with them who receive actual notice of the PI (the “Enjoined parities”) are:

       1. Fully enjoined from implementing or enforcing through any means the decision made
          on or about March 24, 2025, that numerous health programs and appropriations
          responsible for $11 billion of critical federal financial assistance were "no longer
          necessary" because the "COVID-19 pandemic is over" ("Public Health Funding
          Decision"), including any funding terminations, or from taking any action to reinstitute
          the Public Health Funding Decision for the same or similar reasons. This injunction is
          limited to funding for Plaintiff States, including their local health jurisdictions and any
          bona fide fiscal agents of Plaintiff States or their local health jurisdictions.
       2. Required to immediately treat any actions taken to implement or enforce the Public
          Health Funding Decision, including any funding terminations, as null and void and
          rescinded. The Enjoined Parties must immediately take every step necessary to
          effectuate this order, including clearing any administrative, operational, or technical
          hurdles to implementation.
       3. Provide written notice of this order to all Defendants and agencies and their employees,
          contractors, and grantees by the end of the day on Tuesday, May 20, 2025.
       4. By the end of the day on Tuesday, May 20, 2025, the Defendants SHALL FILE on the
          Court's electronic docket a Status Report documenting the actions that they have taken
          to comply with this Order, including a copy of the notice and an explanation as to whom
          the notice was sent.

   HHS must continue to take every step necessary to effectuate this PI, including clearing any
   administrative, operational, or technical hurds to implementation.

   Pending any further instructions from the Court, HHS should ensure that it is not
   implementing, applying, or enforcing any terminations with respect to these awards against
   the Plaintiff States. If you have questions, please reach out to Kenya Ford in the Office of the
   General Counsel, kdf6@cdc.gov. Thank you.




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